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 1   Name           ______________________
 2   Bar #          ______________________
     Firm           ______________________
 3   Address        ______________________
 4                  ______________________
 5                  ______________________
     Telephone      ______________________
 6
 7                            IN THE UNITED STATES DISTRICT COURT
 8                               FOR THE DISTRICT OF ARIZONA
 9
10                                                )
11                                                )
                                                  )
12               Plaintiff,                       )
                                                  )    Case No.
13               vs.                              )
                                                  )    Corporate Disclosure Statement
14                                                )
                                                  )
15               Defendant.                       )
                                                  )
16                                                )

17
           This Corporate Disclosure Statement is filed on behalf of ___________________________
18
     in compliance with the provisions of: (check one)
19         ____ Rule 7.1, Federal Rules of Civil Procedure, a nongovernmental corporate party to an
20                action in a district court must file a statement that identifies any parent corporation
                  and any publicly held corporation that owns 10% or more of its stock or states that
21
                  there is no such corporation.
22         ____ Rule 12.4(a)(1), Federal Rule of Criminal Procedure, any nongovernmental corporate
23                party to a proceeding in a district court must file a statement that identifies any
                  parent corporation and any publicly held corporation that owns 10% or more of its
24
                  stock or states that there is no such corporation.
25         ____ Rule 12.4(a)(2), Federal Rule of Criminal Procedure, if an organizational victim of
26                alleged criminal activity is a corporation the government must file a statement
                  identifying the victim and the statement must also disclose the information required
27
                  by Rule 12.4(a)(1).
28
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 1          The filing party hereby declares as follows:
            ____ No such corporation.
 2
            ____ Party is a parent, subsidiary or other affiliate of a publicly owned corporation as
 3                  listed below. (Attach additional pages if needed.)
 4          ______________________________________ Relationship__________________________
            ____ Publicly held corporation, not a party to the case, with a financial interest in the
 5
                    outcome. List identity of corporation and the nature of financial interest. (Attach
 6                  additional pages if needed.)
 7          __________________________________________ Relationship______________________
            _____ Other(please explain)
 8
            ________________________________________________________________________
 9          ___________________________________________________________________________
10
           A supplemental disclosure statement will be filed upon any change in the
11
     information provided herein.
12
13                         Dated this _________ day of __________________, ________.
14
15                                        _______________________________
16                                              Counsel of Record
17
18
19   Certificate of Service:
20
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22
23
24
25
26
27
28

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